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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


IN RE GEORGIA SENATE BILL 202                     MASTER CASE NO.
                                                  1:21-MI-55555-JPB
SIXTH DISTRICT OF THE AFRICAN
METHODIST EPISCOPAL CHURCH, et
al.,

       Plaintiffs,                                CIVIL ACTION
v.
                                                  Case No. 1:21-CV-01284-JPB
BRIAN KEMP, Governor of the State of
Georgia, in his official capacity, et al.,

       Defendants.

THE CONCERNED BLACK CLERGY OF
METROPOLITAN ATLANTA, INC., et
al.,

       Plaintiffs,                                Case No. 1:21-CV-01728-JPB

v.

BRAD RAFFENSPERGER, in his official
capacity as the Georgia Secretary of State,
et al.,

       Defendants.



     PLAINTIFFS’ RULE 5.4 NOTICE OF CERTIFICATE OF SERVICE




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      Pursuant to Local Rules 5.4 and 26.3(A), I hereby certify that on January 27,

2023, I caused true and correct copies of the Expert Report of Dr. Daniel G. Chatman

to be served via electronic email upon counsel of record for all parties in this matter.


                                               Respectfully submitted,

                                               /s/ William Tucker

                                               William Tucker*
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                                               Black Clergy of Metropolitan Atlanta,
                                               Inc., The Justice Initiative, Inc.,
                                               Metropolitan Atlanta Baptist Ministers
                                               Union, Inc., First Congregational
                                               Church, United Church of Christ Inc.,
                                               Georgia Latino Alliance for Human
                                               Rights, Inc., Faith in Action Network,
                                               Greater Works Ministries Network,
                                               Inc., and Exousia Lighthouse
                                               International C.M., Inc.




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                      CERTIFICATE OF COMPLIANCE

      Pursuant to L.R. 7.1(D), the undersigned hereby certifies that the foregoing

Rule 5.4 Notice of Certificate of Service has been prepared in Times New Roman

14, a font and type selection approved by the Court in L.R. 5.1(B).


      Dated: February 3, 2023
                                                          /s/ William Tucker
                                                             William Tucker




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                          CERTIFICATE OF SERVICE

      I hereby certify that on February 3, 2023, I electronically filed this document

with the Clerk of Court using CM/ECF system which will automatically send

email notification of such filing to the attorneys of record in this matter.


      Dated: February 3, 2023
                                                             /s/ William Tucker
                                                                William Tucker




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